              Case 5:06-cv-01730-JW Document 36 Filed 03/20/06 Page 1 of 3


 1   OFFICE OF THE MONTEREY COUNTY COUNSEL
     CHARLES J. MCKEE (SBN 152458), COUNTY COUNSEL
 2   LEROY W. BLANKENSHIP (SBN 065233), ASSISTANT COUNTY COUNSEL
     EFREN N. IGLESIA (SBN 71309), SENIOR DEPUTY COUNTY COUNSEL
 3   168 W. ALISAL, 3RD FLOOR
     SALINAS, CA 93901-2680
 4   Telephone: (831) 755-5045
     Facsimile: (831) 755-5283
 5
     NOSSAMAN, GUTHNER, KNOX & ELLIOTT, LLP
 6   STEPHEN N. ROBERTS (SBN 062538)
     NICOLE A. TUTT (SBN 179244)
 7   50 CALIFORNIA STREET, 34TH FLOOR
     SAN FRANCISCO, CALIFORNIA 94111-4799
 8   Telephone: (415) 398-3600
     Facsimile: (415) 398-2438
 9   Email: montereycase@nossaman.com
10   NOSSAMAN, GUTHNER, KNOX & ELLIOTT, LLP
     JOHN J. FLYNN III (SBN 076419)
11   18101 VON KARMAN AVENUE
     IRVINE, CA 92612-0177
12   Telephone: (949) 833-7800
     Facsimile: (949) 833-7878
13   Email: montereycase@nossaman.com
14   Attorneys for Defendants/Respondents
     BOARD OF SUPERVISORS OF THE COUNTY OF MONTEREY;
15   TONY ANCHUNDO, IN HIS CAPACITY AS MONTEREY COUNTY
     REGISTRAR OF VOTERS; AND THE COUNTY OF MONTEREY
16

17                               UNITED STATES DISTRICT COURT
18                             NORTHERN DISTRICT OF CALIFORNIA
19                                       SAN JOSE DIVISION
20   WILLIAM MELENDEZ; KEN GRAY; JYL    )           Case No: C 06-1730 JW
     LUTES; CAROLYN ANDERSON; AND       )
21   LANDWATCH MONTEREY COUNTY,         )                ASSIGNED FOR ALL PURPOSES TO:
                                        )                      HON. JAMES WARE
22              Plaintiffs/Petitioners, )
                                        )
23        vs.                           )           DEFENDANTS’ REPLY TO MADRIGAL
                                        )           CASE PLAINTIFFS’ MOTION FOR
24   BOARD OF SUPERVISORS OF THE COUNTY )           INJUNCTION
     OF MONTEREY; TONY ANCHUNDO, IN HIS )
25   CAPACITY AS MONTEREY COUNTY        )
     REGISTRAR OF VOTERS; COUNTY OF     )           Date:   March 21, 2006
26   MONTEREY; AND DOES 1 THROUGH 10,   )           Time:   10:00 a.m.
     INCLUSIVE,                         )           Dept:   8
27                                      )
                Defendants/Respondents. )
28                                      )


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                DEFENDANTS’ REPLY TO MADRIGAL CASE PLAINTIFFS’ MOTION FOR INJUNCTION
               Case 5:06-cv-01730-JW Document 36 Filed 03/20/06 Page 2 of 3




 1   1.     INTRODUCTION
 2          The motion for an injunction submitted by the Madrigal case Plaintiffs should be denied, not
 3   because the legal arguments relating to the Federal Voting Rights Act lack merit, but because there is no
 4   threat on the part of the Defendants that the actions Plaintiffs seek to enjoin will be taken. As set forth
 5   in the Declaration of Defendant Tony Anchundo, and discussed extensively in the briefs relating to the
 6   Melendez Plaintiffs’ motions, the Board of Supervisors voted not to place the matter on the ballot. Since
 7   the harm the Madrigal Plaintiffs seek to prevent is holding the election, there is consequently no
 8   threatened harm to the Madrigal Plaintiffs from Defendants. While Defendants may disagree on certain
 9   points raised in the Madrigal Plaintiffs’ brief, they agree it is appropriate not to go forward with the
10   election and have acted accordingly. There is no need for an injunction.
11   2.     THERE IS NO THREAT OF COGNIZABLE HARM BY DEFENDANTS
12          The most basic requirement of injunctive relief is that the plaintiff must show some danger of
13   cognizable harm by defendant. United States v. W. T. Grant Co., 345 U.S. 629, 633 (1953); U.S. v.
14   Nutri-Cology, Inc., 982 F. 2d 394, 397 (9th Cir. 1992) (“possibility of irreparable harm”). Such a
15   demonstration cannot be made by the Madrigal plaintiffs. The Board determined not to go forward with
16   the election. There is simply no evidence presented that there is any danger of harm to this group from
17   these Defendants. Indeed, the Madrigal Plaintiffs concede that these Defendants pose no threat of harm
18   to them. Plaintiffs’ Memorandum of Points and Authorities, at page 10, line 14 to page 11, line 5. If the
19   harm of which they complain occurs, it will only be because the Court determines it is proper for the
20   election to go forward as a result of the Melendez Plaintiffs’ arguments, not any voluntary act by the
21   Defendants. Ibid. Thus no treat of harm gives rise to injunctive relief against these Defendants. That is
22   especially the case considering the drastic nature of injunctive relief—making the Defendants subject to
23   contempt power for something they are not threatening to do.
24          The motion should be denied.
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                DEFENDANTS’ REPLY TO MADRIGAL CASE PLAINTIFFS’ MOTION FOR INJUNCTION
               Case 5:06-cv-01730-JW Document 36 Filed 03/20/06 Page 3 of 3




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 2   3.     CONSOLIDATION
 3          Although it is Defendants’ understanding that the Court intends to consolidate the two actions,
 4   because a formal written order of consolidation has not yet been issued, this brief will be filed in both
 5   the Madrigal and Melendez cases, to mirror the action that the Madrigal Plaintiffs seem to have taken.
 6

 7   Dated: March 20, 2006                      NOSSAMAN, GUTHNER, KNOX & ELLIOTT, LLP
 8
                                                                   /S/
 9                                              By: ____________________________
                                                        STEPHEN N. ROBERTS
10
                                                Attorneys for Defendants/Respondents
11                                              BOARD OF SUPERVISORS OF THE COUNTY OF
                                                MONTEREY; TONY ANCHUNDO, IN HIS CAPACITY AS
12                                              MONTEREY COUNTY REGISTRAR OF VOTERS; AND
                                                THE COUNTY OF MONTEREY
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